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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.
                                           18
                                               1    9-
                                               u.s.c.
                                                       2 0 3
                                                       § 1341
                                                             7 0 :cR-:-cooKE
                                                                       !GOODMAN
                                           18 u.s.c.   § 1343
                                           18 U.S.C.   § 1028A(a)(1)
                                           18 U.S.C.   § 981(a)(1)(C)

  UNITED STATES OF AMERICA

  vs.                                                                       JU;·i 2 0 2019
                                                                             ANGELA E. NOBLE
  PHILIP RIGHTER,                                                           CLERK U.S. DIST. CT.
                                                                            S. D. OF FLA. - MIAMI

         Defendant.
  _________________________!

                                           INDICTMENT

         The Grand Jury charges that:

                                    GENERAL ALLEGATIONS

         At all times relevant to this Indictment:

                                   K.H. and The K.H. Foundation

         1.      K.H. was a deceased American artist. Between 1980 and 1989, K.H. achieved

  international recognition for his graffiti-like artworks. Paintings and other works of art created by

  K.H. had considerable market value.

         2.      The K.H. Foundation owned the international copyright to artworks created by K.H.

  The K.H. Foundation oversaw the reproduction of K.H. artworks and protected against their

  unauthorized use. J.G. was the Executive Director of The K.H. Foundation.

         3.      In 2012, The K.H. Foundation announced that it would disband its authentication

  committee, which opined on the authenticity of works purportedly by the hand of K.H.
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                                    J.M.B. and The Estate of J.M.B.

          4.      J.M.B. was a deceased American artist. Between 1980 and 1988, J.M.B. achieved

  international recognition as a graffiti artist and neo-expressionist painter. Paintings and other

  works of art created by J.M.B. had considerable market value.

          5.      The Estate of J.M.B. was the heir to the legal rights and interests of J.M.B. The

  Estate of J.M.B. was administered by G.B., the late artist's father, until 2013. After 2013, The

  Estate of J.M.B. was administered by the late artist's sisters, J.H. and L.B.

          6.      In 2012, The Estate of J.M.B. announced that it would disband its authentication

  committee, which opined on the authenticity of works purportedly by the hand of J.M.B.

                             Provenance and Authentication of Artworks

          7.      An artwork's authenticity is an important factor in determining its marketability

  and value. Authenticity can be demonstrated through the artwork's: (a) provenance, that is, a

  documented history of its ownership; (b) inclusion in the artist's catalogue raisonne-a

  comprehensive catalogue ofthe artist's works; or (c) certification from a qualified authority, such

  as the artist's estate or foundation.

                                            The Defendant

          8.      Defendant PHILIP RIGHTER was a resident of Los Angeles, California. In or

  around March 2016, RIGHTER claimed, in a lawsuit filed in Los Angeles County Superior Court,

  to be the owner of39 original artworks, "5 [ofwhich] have been valued at over $3,000,000.00".

  These artworks included artworks purportedly created by K.H. and J.M.B.




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                                            Art Gallery # 1

         9.      Art Gallery # 1 was an art gallery located in Aventura, Florida. Art Gallery # 1

  maintained and advertised for sale a collection of artworks certified as authentic by The K.H.

  Foundation.

         10.     Individual # 1 owned and operated Art Gallery # 1.

                                            COUNTS 1-5
                                             Wire Fraud
                                          (18 u.s.c. § 1343)


         1.      The General Allegations section of this Indictment is re-alleged and incorporated

  by reference as though fully set forth herein.

         2.      From in or around June 2016, through in or around August 2016, in Miami-Dade

  and Broward Counties, in the Southern District of Florida, and elsewhere, the defendant,

                                         PHILIP RIGHTER,

  did knowingly and with intent to defraud, devise and intend to devise a scheme and artifice to

  defraud and to obtain money and property by means of materially false and fraudulent pretenses,

  representations, and promises, knowing that the pretenses, representations, and promises were

  false and fraudulent when made, and for the purpose of executing such scheme and artifice, did

  transmit and cause to be transmitted by means of wire communication in interstate and foreign

  commerce, certain writings, signs, signals, pictures, and sounds.

                         PURPOSE OF THE SCHEME AND ARTIFICE

         3.      It was the purpose of the scheme and artifice for the defendant to unlawfully enrich

  himself by obtaining and misappropriating money from Individual # 1 and others, by making

  materially false and fraudulent representations, and by the concealment of material facts,

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  concerning, among other things, the source and authenticity of certain artworks purportedly

  created by K.H. and J.M.B.

                                   THE MANNER AND MEANS

         The manner and means by which the defendant sought to accomplish the purpose of the

  scheme and artifice included, among others, the following:

         4.      PHILIP RIGHTER acquired forged and fraudulent artworks through, among

  other sources, the eBay online marketplace. Some of these forged and fraudulent artworks bore

  bogus signatures of prominent artists, including K.H. and J.M.B.

         5.      In order to make the forged and fraudulent artworks appear authentic, PHILIP

  RIGHTER created fraudulent letters certifying their authenticity. These fraudulent letters were

  purportedly issued by "The Estate of K.H." and the "Authentication Committee of the Estate of

  J .M.B." and bore the names and signatures of legitimate representatives of The K.H. Foundation

  and The Estate of J.M.B. without those legitimate representatives' consent or authority.

         6.      In furtherance of the scheme, PHILIP RIGHTER also designed and purchased

  custom-made embossers bearing the names ofK.H. and J.M.B., which RIGHTER used to stamp

  the authentication letters to make them appear legitimate.

         7.      PHILIP RIGHTER, personally and through third-party brokers, offered to sell the

  forged and fraudulent artworks to prospective buyers, including auction houses, Art Gallery # 1,

  Individual # 1, and other individuals.

         8.      PHILIP RIGHTER, personally and through third-party brokers, applied for loans

  by offering the forged and fraudulent artworks as collateral.




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         9.      As part of the scheme, PHILIP RIGHTER told prospective buyers, lenders, and

  third-party brokers that he had acquired the artworks in or around 2006 as part of an inheritance

  from RIGHTER's grandmother. In truth, and as RIGHTER well knew, he acquired no such

  inheritance.

         10.     In an attempt to legitimize the forged and fraudulent artworks, PHILIP RIGHTER

  also told prospective buyers, lenders, and third-party brokers that he had donated a number of

  artworks by prominent artists, including K.H., to a university in the State ofNew York.

         11.     During the course of the scheme, PHILIP RIGHTER communicated with

  prospective buyers, lenders, and third-party brokers via telephone and email. RIGHTER further

  caused a shipment of forged and fraudulent artworks to be sent to Individual # 1, a prospective

  buyer, via Federal Express.

                                      USE OF THE WIRES

         12.     On or about the dates specified as to each count below, in the Southern District of

  Florida, and elsewhere, the defendant, PHILIP RIGHTER, for the purpose of executing, and in

  furtherance of, the aforesaid scheme and artifice to defraud and to obtain money and property by

  means of materially false and fraudulent pretenses, representations, and promises, did knowingly

  transmit and cause to be transmitted, directly and indirectly, by means of wire communications in

  interstate and foreign commerce, certain writings, signs, signals, pictures, and sounds, as more

  specifically described below:




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   COUNT         APPROX. DATE              DESCRIPTION OF WIRE COMMUNICATION
       1           August 1, 2016      Email from PHILIP RIGHTER in California, to Individual
                                       # 1 in South Florida, in which RIGHTER falsely claimed he
                                       had loaned artworks by K.H. to a university in the State of
                                       New York
       2           August 2, 2016      Email from PHILIP RIGHTER in California, to Individual
                                       # 1 in South Florida, in which RIGHTER offered to sell
                                       forged and fraudulent artworks, purportedly by J.M.B., to
                                       Individual # 1
       3           August 2, 2016      Telephone call from Individual # 1 in South Florida, to
                                       PHILIP RIGHTER in California, during which RIGHTER
                                       falsely claimed ownership of artworks by K.H. and J.M.B.
       4          August 12, 2016      Email from PHILIP RIGHTER in California, to Individual
                                       # 1 in South Florida, in which RIGHTER sent a price list for
                                       artworks purportedly by K.H. and J.M.B. and payment
                                       instructions directing Individual # 1 to make payment of
                                       $1,056,000 to RIGHTER
       5          August 12, 2016      Email from PHILIP RIGHTER in California, to Individual
                                       # 1 in South Florida, in which RIGHTER sent bank wire
                                       instructions to Individual# 1, directing Individual# 1 to send
                                       a bank wire payment to RIGHTER's Capital One 360 bank
                                       account ending in 2692

           In violation of Title 18, United States Code, Sections 1343 and 2.

                                            COUNTS 6-7
                                             Mail Fraud
                                          (18 u.s.c. § 1341)

           1.     The General Allegations section of this Indictment is re-alleged and incorporated

  by reference as though fully set forth herein.

           2.     From in or around June 2016, through in or around August 2016, in Miami-Dade

  and Broward Counties, in the Southern District of Florida, and elsewhere, the defendant,

                                         PHILIP RIGHTER,

  did knowingly and with intent to defraud, devise and intend to devise a scheme and artifice to

  defraud and to obtain money and property by means of materially false and fraudulent pretenses,
                                                    6
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  representations, and promises, knowing that the pretenses, representations, and promises were

  false and fraudulent when made, and for the purpose of executing such scheme and artifice, and

  attempting to do so, did knowingly cause to be delivered certain mail matter by Federal Express,

  a private and commercial interstate carrier, according to the directions thereon, in violation of Title

  18, United States Code, Section 1341.

                         PURPOSE OF THE SCHEME AND ARTIFICE

         3.      It was the purpose of the scheme and artifice for the defendant to unlawfully enrich

  himself by obtaining and misappropriating money from Individual # 1 and others, by making

  materially false and fraudulent representations, and by the concealment of material facts,

  concerning, among other things, the source and authenticity of certain artworks purportedly

  created by K.H. and J .M.B.

                                    THE MANNER AND MEANS

         4.      The Manner and Means section of Counts 1 through 5 of this Indictment is re-

  alleged and incorporated by reference herein as a description of the manner and means by which

  the defendant sought to accomplish the scheme and artifice.

                                        USE OF THE MAILS

         5.      On or about the dates specified as to each count below, the defendant, PHILIP

  RIGHTER, for the purpose of executing, and in furtherance of, the aforesaid scheme and artifice

  to defraud and to obtain money and property from others by means of materially false and

  fraudulent pretenses, representations, and promises, and attempting to do so, did knowingly cause

  to be delivered, directly and indirectly, by Federal Express, a private and commercial interstate

  carrier, according to the directions thereon, the items identified below in each count:


                                                    7
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   COUNT         APPROX. DATE                           DESCRIPTION OF MAILING
       6          August 10,2016        Forged and fraudulent K.H. artworks, and letters certifying
                                        their authenticity, mailed by a packing and shipping
                                        company via Federal Express in Los Angeles, California, to
                                        a storage facility in Miami, Florida
       7           August 10, 2016      Forged and fraudulent J.M.B. artworks, and letters
                                        certifying their authenticity, mailed by a packing and
                                        shipping company via Federal Express in Los Angeles,
                                        California, to a storage facility in Miami, Florida

           In violation of Title 18, United States Code, Sections 1341 and 2.

                                           COUNTS 8-9
                                      Aggravated Identity Theft
                                        (18 U.S.C. § 1028A)

           On or about the dates specified as to each count below, in Miami-Dade and Broward

  Counties, in the Southern District of Florida, and elsewhere, the defendant,

                                         PHILIP RIGHTER,

  during and in relation to a felony violation of Title 18, United States Code, Section 1341, that is,

  mail fraud, as charged in Counts 6 and 7, did knowingly transfer, possess, and use, without lawful

  authority, a means of identification of another person, as set forth in each count below:

   COUNT         APPROX. DATE                      MEANS OF IDENTIFICATION
     8            August 4, 2016       Name and signature of J.G., as it appears on a fraudulent
                                       authentication letter bearing Identification Number
                                       011659A59

       9           August 4, 2016      Name and signature of G.B., as it appears on a fraudulent
                                       authentication letter bearing Transaction Number 60423


           In violation of Title 18, United States Code, Sections 1028A(a)(l) and 2.




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                                               FORFEITURE
                                          (18 U.S.C. § 981(a)(l)(C))

              1.     The allegations of this Indictment are realleged and by this reference are fully

      incorporated herein for the purpose of alleging forfeiture to the United States of certain property

      in which the defendant, PHILIP RIGHTER, has an interest.

             2.      Upon conviction of a violation of Title 18, United States Code, Sections 1341 or

      1343, as alleged in this Indictment, the defendant, PHILIP RIGHTER, shall forfeit to the United

      States any property, real or personal, which constitutes or is derived from proceeds traceable to

      such violation, pursuant to Title 18, United States Code, Section 981(a)(l)C).

             All pursuant to Title 18, United States Code, Section 981(a)(l)(C), as made applicable by

      Title 28, United States Code, Section 2461 (c), and the procedures set forth in Title 21 United States

      Code, Section 853.

                                                                A TRUE BILL




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      CHRISTOPHER B. BROWNE
      ASSISTANT UNITED STATES ATTORNEY




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      Case 1:19-cr-20370-MGC Document
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                                      STATES     on FLSD
                                             DISTRICT    Docket 06/20/2019 Page 10 of 11
                                                      COURT
II                                            SOUTHERN DISTRICT OF FLORIDA


1    UNITED STATES OF AMERICA                        CASE NO.
     v.
1                                                      CERTIFICATE OF TRIAL ATTORNEY*
I
j
     PHILIP RIGHTER,
                                 Defendant.
                                                       Superseding Case Information:
1
I1   Court Division:   (select One)                    New Defendant(s)                    Yes         No
                                                       Number of New Defendants

I
!
1
     _lL_   Miami
            FTL
                        _ _ Key West
                            VVPB
            I do hereby certify that:
                                     FTP
                                                       Total number of counts



I           1.      I have carefully considered the allegations of the indictment, the number of defendants, the number
II          2.
                    of probable witnesses and the legal complexities of the Indictment/Information attached hereto.
                    I am aware that the information supplied on this statement will be relied upon by the Judges of this

I                   Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                    Act, Title 28 U.S.C. Section 3161.

Ii          3.      Interpreter:    (Yes or No)
                    List language and/or dialect
                                                        No




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            4.      This case will take         3      days for the parties to try.
            5.      Please check appropriate category and type of offense listed below:
J
                    (Check only one)                                    (Check only one)

            I       0     to 5 days                    _x_              Petty
            II      6     to 10 days                                    Minor
            III     11      to 20 days                                  Misdem.
            IV      21    to 60 dads                                    Felony                   X
            v       61    days an over
            6.       Has this case been previously filed in this District Court? (Yes or No)     No
            If yes:
            Judge:                                             Case No.
            (Attach copy of dispositive order)
            Has a complaint been filed in this matter?         (Yes or No)       No
            If yes:
            Magistrate Case No.
            Related Miscellaneous numbers:
            Defendant(s) ~n federal custody as of
            Defendant(s) m state custody as of
            Rule 20 from the District of
            Is this a potential death penalty case? (Yes or No)           No

            7.         Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
                       prior to October 14, 2003?      Yes ~No x                                                        "'

I
I                                                            ~OWNE
                                                                ASSISTANT UNITED STATES ATIORNEY

I                                                               FLORIDA BAR NO. 91337


     *Penalty Sheet(s) attached                                                                                 REV 5/3/17




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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                        PENALTY SHEET

  Defendant's Name: PHILIP RIGHTER

  CaseNo: ---------------------------------------------------------------
  Counts #: 1-5

  Wire Fraud

  Title 18, United States Code, Section 1343

  * Max. Penalty:       Twenty (20) years' imprisonment as to each count

  Counts #: 6-7

  Mail Fraud

  Title 18, United States Code, Section 1341

  *Max. Penalty:         Twenty (20) years' imprisonment as to each count

  Counts #: 8-9

  Aggravated Identity Theft

  Title 18, United States Code, Section 1028A(a)(l)

  *Max. Penalty:        Two (2) years' imprisonment consecutive to any other sentence




   *Refers only to possible term of incarceration, does not include possible fines, restitution,
           special assessments, parole terms, or forfeitures that may be applicable.
